Case 1:12-cr-00123-JTN          ECF No. 176, PageID.859          Filed 07/08/15      Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                   Case No. 1:12-cr-123

v.                                                          HON. JANET T. NEFF

SAUL DOUGLAS BRIGGS,

            Defendant.
____________________________________/


                            MEMORANDUM OPINION AND ORDER

       Defendant Saul Douglas Briggs has filed a motion for modification or reduction of sentence

(Dkt 166) pursuant to 18 U.S.C. §3582(c)(2) on the basis of Amendment 782 of the United States

Sentencing Guidelines, made retroactive by the Sentencing Commission. The U.S. Probation

Department has filed a Sentence Modification Report (Dkt 174), and the parties Stipulated (Dkt 175)

to the retroactive application of the sentencing amendment and requests the Court to amend the

sentence.

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States Sentencing

Guidelines reduced by two levels the offense levels assigned to the quantities that trigger the

statutory mandatory minimum penalties in U.S.S.G. §§ 2D1.1 and 2D1.11. These modifications

were made retroactive effective November 1, 2014. U.S.S.G. § 1B1.10.
Case 1:12-cr-00123-JTN           ECF No. 176, PageID.860             Filed 07/08/15      Page 2 of 2




       Having fully considered the Sentence Modification Report (Dkt 174) and the Stipulation on

Reduction of Sentence (Dkt 175), the Court has determined that the defendant is entitled to a

reduction of sentence pursuant to the policy statements of the U.S. Sentencing Commission.

       Therefore, IT IS HEREBY ORDERED that Defendant's motion for modification of sentence

(Dkt 166) pursuant to 18 U.S.C. § 3582(c)(2) is GRANTED. Defendant’s sentence is reduced to

sixty (60) months imprisonment, the statutory mandated minimum, on each count to run concurrent,

with an effective date of November 1, 2015.

       IT IS FURTHER ORDERED that all other aspects of the original judgment order including

the length of term of supervised release, all conditions of supervision, fines, restitution, and special

assessment remain as previously imposed.




DATED: July 8, 2015                                      /s/ Janet T. Neff
                                                        JANET T. NEFF
                                                        United States District Judge




                                                   2
